
186 S.E.2d 925 (1972)
280 N.C. 723
STATE of North Carolina
v.
Albert Gerald BROWN et al.
Supreme Court of North Carolina.
March 7, 1972.
Robert Morgan, Atty. Gen., Henry T. Rosser, Asst. Atty. Gen., for the State.
Robert L. Grubb, for defendant Brown.
Jerry B. Grimes, for defendant Maddox.
Walser, Brinkley, Walser &amp; McGirt, for defendant Phillips.
Petition for writ of certiorari to review the decision of the North Carolina Court of Appeals, 13 N.C.App. 261, 185 S.E.2d 471. Denied.
